           Case 17-05137-LT7               Filed 11/03/22           Entered 11/03/22 15:10:50             Doc 989        Pg. 1 of 8
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Baker Tilly US, LLP f/k/a Squar Milner LLP
3655 Nobel Drive, Suite 300
San Diego, CA 92122
Telephone: (858) 597-4100
Facsimile: (858) 597-4111


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                        6287+(51',675,&72)&$/,)251,$
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PEPPERTREE PARK VILLAGES 9&10, LLC
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                                                                     Baker Tilly US, LLP f/k/a Squar Milner LLP
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     ✔      2WKHU>VSHFLI\WKHQDWXUHRIWKHPDWWHU@
    Baker Tilly's Motion for Allowance and Payment of Administrative Expense in the total amount of $16,855.26, comprised
    of $10,417.76 in previously court-approved fees and costs for the pre-confirmation period and $6,437.50 of
    post-confirmation fees and costs. See ECF # 987.




       ,IQRWUHTXLUHGWREHDWWDFKHGDVHWRIWKHPRYLQJSDSHUVZLOOEHSURYLGHGXSRQUHTXHVWE\WKHXQGHUVLJQHGRU
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'$7(' November 3, 2022                                             /s/ Stacy Elledge Chiang, CPA/CFF, CIRA
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         Case 17-05137-LT7               Filed 11/03/22     Entered 11/03/22 15:10:50       Doc 989        Pg. 2 of 8
&6' 3DJH >@

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         ,WKHXQGHUVLJQHGZKRVHDGGUHVVDSSHDUVEHORZFHUWLI\

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      7KDWRQWKH 3rd                             ,VHUYHGDWUXHFRS\RIWKHZLWKLQ127,&(2) 027,21
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               See attached for parties served via NEF.




     ✔         &KDSWHU7UXVWHH Gerald H. Davis     ghd@trusteedavis.com, ghd@trustesolutions.net


     ✔          )RU&KSW FDVHV    )RU2''QXPEHUHG&KDSWHUFDVHV   )RU(9(1QXPEHUHG&KDSWHUFDVHV

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                XVWSUHJLRQ#XVGRMJRY         %LOOLQJVOHD#WKEFR[DWZRUNFRP        DGPLQ#FKVGFR[PDLOFRP
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         Creditors and Interested Parties: See attached (via First Class Mail).




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       Case 17-05137-LT7            Filed 11/03/22       Entered 11/03/22 15:10:50             Doc 989     Pg. 3 of 8
&6' 3DJH [0/01/18]



 3.     Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

        Under Fed.R.Civ.P.5 and controlling LBR, on                                  , I served the following person(s)
 and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
 transmission, by overnight delivery and/or electronic mail as follows:

        Attorney for Debtor (or Debtor), if required:




        I declare under penalty of perjury under the laws of the United States of America that the statements made
        in this proof of service are true and correct.



        Executed on November 3, 2022                                /s/ Marjaneh Hernandez
                             (Date)                                  (Typed Name and Signature)

                                                                    3655 Nobel Drive, Suite 300
                                                                     (Address)

                                                                    San Diego, CA 92122
                                                                     (City, State, ZIP Code)




&6'
      Case 17-05137-LT7       Filed 11/03/22    Entered 11/03/22 15:10:50       Doc 989    Pg. 4 of 8

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    x Todd M. Schwartz toddschwartz@paulhastings.com
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    x Alan Vanderhoff alan.vanderhoff@vanderhofflaw.com, alanvanderhoff@cox.net
    x Dennis J. Wickham wickham@scmv.com, nazari@scmv.com
    x Christopher K.S. Wong christopher.wong@afslaw.com
    x Robert Zahradka rzahradka@nationalfunding.com




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                                                                           BAKER TILLY PROOF OF SERVICE
               Case 17-05137-LT7          Filed 11/03/22      Entered 11/03/22 15:10:50        Doc 989       Pg. 5 of 8
Label Matrix for local noticing                Christin A. Batt                               Bossler Group, LLC
0974-3                                         Financial Law Group                            3835 WILDWOOD ROAD
Case 17-05137-LT7                              5656 La Jolla Blvd.,                           SAN DIEGO, CA 92107-3749
Southern District of California                La Jolla, CA 92037-7523
San Diego
Thu Nov 3 13:25:12 PDT 2022
Byron & Edwards, APC                           California Department of Tax and Fee Adminis   Chief, Spec. Proc., Section-Insolvency
530 B St., Ste. 610                            Account Information Group, MIC:29              Internal Revenue Service
San Diego, CA 92101-4406                       P.O. Box 942879                                P.O.Box 7346
                                               Sacramento, CA 94279-0029                      Philadelphia, PA 19101-7346


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                                               San Diego, CA 92101-4507

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San Diego, CA 92101-8177                       Los Angeles, CA 90017-5709


Dept. of Industrial Relations Labor Law        Div. of Labor Standards Enforcement            Div. of Labor Standards Enforcement
Enforcement State of CA                        7575 Metropolitan Drive, Suite 210             State of California
1550 W. Main Street                            San Diego, CA 92108-4424                       7575 Metropolitan Drive, Suite 210
El Centro, CA 92243-2105                                                                      San Diego, CA 92108-4424


Dun & Bradstreet                               Employment Develop. Dept. State of CA          Employment Development Dept.
P.O. Box 520                                   Bankruptcy Unit-MIC 92E                        P.O. Box 120831
Center Valley, PA 18034-0520                   P.O. Box 826880                                San Diego, CA 92112-0831
                                               Sacramento, CA 94280-0001


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                                               Long Beach, CA 90803-4214


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San Diego, CA 92130-2594                                                                      Sacramento, CA 95812-2952


Franchise Tax Board                            Franchise Tax Board, State of CA               GF Capital
Bankruptcy Section MS A340                     Bankruptcy Section MS A340                     Aaron J. Malo, Esq.
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San Diego, CA 92177-7921
               Case 17-05137-LT7           Filed 11/03/22      Entered 11/03/22 15:10:50        Doc 989       Pg. 6 of 8
Hecht Solberg Robinson Goldberg & Bagley        Hecht Solberg Robinson Goldberg & Bagley LLP   Marshall Hogan
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                                                                                               Costa Mesa, CA 92626-7689

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                                                                                               P.O. Box 17933
                                                                                               San Diego, CA 92177-7921

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                                                                                               San Diego, CA 92101-5393

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San Diego, CA 92101-5393


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Ste 300
San Diego, CA 92101-3597

Meritage Homes                                  Meritage Homes of California                   Meritage Homes of California, Inc.
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2834 La Mirada Dr., Ste. H                      DBA Land Advisors Organization                 C/O Todd M. Schwartz
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                                                100 Spectrum Ctr. Dr. Ste. 1400                1117 S. California Ave
                                                Irvine, CA 92618-4982                          Palo Alto, California 94304-1106

Penn Credit Corp/Water Res. Control Bd.         Peppertree Park Villages 9 and 10, LLC         Rich Brasher Urban Designer LLC
916 South 14th St.                              5256 S. Mission Road, Suite 905                55187 PO BOX
Harrisburg, PA 17104-3425                       Bonsall, CA 92003-3623                         Atlanta, GA 30308-5187



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               Case 17-05137-LT7              Filed 11/03/22         Entered 11/03/22 15:10:50              Doc 989       Pg. 7 of 8
Seltzer Caplan McMahon Vitek                         Shady Bird Lending LLC                               Squar Milner LLP
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                                                     555 West Fifth Street, 48th Fl.                      Suite 300
                                                     Los Angeles, CA 90013-1065                           San Diego, CA 92122-1050

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Lisa Torres                                          U.S. Small Business Administration                   U.S. Trustee, Dept of Justice
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San Diego, CA 92128-3427                             Glendale, CA 91203-2320


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                                                     El Cajon
                                                     San Diego, CA 92101-8177


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Financial Law Group                                  State of California
5656 La Jolla Blvd.,                                 P.O. Box 942879
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               Case 17-05137-LT7   Filed 11/03/22      Entered 11/03/22 15:10:50    Doc 989       Pg. 8 of 8
(u)Lounsberry Ferguson et al            (u)Peppertree Land Company                 (u)Shady Bird Lending LLC




(d)United States Trustee                (d)United States Trustee                   (u)Alan Vanderhoff
Office of the U.S. Trustee              Office of the U.S. Trustee
880 Front Street                        880 Front Street
Suite 3230                              Suite 3230
San Diego, CA 92101-8897                San Diego, CA 92101-8897

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